
*129OPINION.
Moréis:
The question presented for determination is whether the petitioner should be taxed on his wife’s distributive share of the net income of the Kahn Kealty Co. The respondent contends that under the laws of the State of Michigan a husband and wife can not be partners in a business enterprise and that the income of the husband and wife from the Kahn Realty Co. is taxable to the petitioner.
The principle involved here has been carefully considered and disposed of by the Board in the proceedings of L. F. Sunlin, 6 B. T. A. 1232; Earle L. Crossman, 10 B. T. A. 248. The facts in this proceeding bring it within the doctrine laid down in the above cited cases. It follows that the respondent’s action was erroneous.

Judgment will be entered under Rule 50.

